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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 MARK TERMINI ASSOCIATES INC, et               )
 al.                                           )
                                               )
                                               ) CASE NO.: 1:24-CV-01068
                        Plaintiffs,            )
                                               ) JUDGE: PATRICIA ANN GAUGHAN
            v.                                 )
                                               )
 KLUTCH SPORTS GROUP, LLC, et al.              )
                                               )
                                               )
                       Defendants.             )

                       STIPULATION AND ORDER OF DISMISSAL

       This matter comes before the Court by stipulation of the Parties pursuant to Fed. Civ. R.

41(a)(1)(A)(ii). The parties stipulate that this matter has been settled and may be dismissed with

prejudice at Defendants’ cost. Therefore, it is hereby ordered that this case is dismissed with

prejudice at Defendants’ cost and this Court shall retain jurisdiction over this matter for the

purposes of enforcing the terms of the settlement agreement.



       SO ORDERED.

Dated: _________________________             __________________________________________

                                             JUDGE PATRICIA A. GAUGHAN
                                             UNITED STATES DISTRICT COURT JUDGE




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WE SO STIPULATE and agree to         WE SO STIPULATE and agree to
abide by the terms of this Order     abide by the terms of this Order

/s/ Richard C. Haber                 /s/Sarah K. Rathke (per consent)
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                                     Dated: April 28, 2025




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